Filed 05/25/16                                       Case 15-14228                                               Doc 104


                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF CALIFORNIA
                                             CIVIL MINUTES


    Case Title :          Oscar Gutierrez                                       Case No : 15−14228 − B − 13
                                                                                   Date : 05/25/2016
                                                                                   Time : 01:30

    Matter :              [21] − Motion for Relief from Automatic Stay Filed by Creditor Carlos Garcia (Fee Paid
                          $176) (eFilingID: 5697015) (msam)


    Judge :               Rene Lastreto II                          Courtroom Deputy : Jennifer Dauer
    Department :          B                                                 Reporter : Electronic Record


    APPEARANCES for :
    Movant(s) :
    None
    Respondent(s) :
                Debtor(s) Attorney − Glen E. Gates


    HEARING CONTINUED TO: 6/22/16 at 09:30 AM




    The court adopts the previous 11 U.S.C. Section 362(e) findings set forth in the January 28, 2016 minutes.

    The court will prepare a civil minute order.
